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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 02-CR-348-LTS

JORGE GANDIA ORTEGA,

                 Defendant.

-------------------------------------------------------x

                                            MEMORANDUM ORDER

                 The Court has received Defendant Jorge Gandia Ortega’s pro se renewed motion

for a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A). (Docket Entry No. 164.) The

Government is directed to file a response to Mr. Ortega’s renewed motion, which shall include

any relevant BOP medical records, by January 22, 2021. The Government may file under seal

any medical records that are included in the response, and sensitive medical information may be

redacted from the response that is filed on ECF. The Government shall file the unredacted

originals, including exhibits, under seal, with a copy of this Order, in compliance with the Sealed

Records Filing Instructions located on the Court’s website, at

https://www.nysd.uscourts.gov/programs/records/sealed. A complete, unredacted courtesy copy

of the Government’s response must be provided to Defendant and emailed to Chambers via

SwainNYSDCorresp@nysd.uscourts.gov.

                 Mr. Ortega’s reply to the Government’s response, if any, must be filed by

February 5, 2021.

                 Chambers will mail a copy of this Order to Mr. Ortega.




ORTEGA - ORD RE RNWD MTN FOR COMP RLS.DOCX                 VERSION JANUARY 8, 2021                1
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       SO ORDERED.

Dated: New York, New York
       January 8, 2021

                                                        /s/ Laura Taylor Swain
                                                        LAURA TAYLOR SWAIN
                                                        United States District Judge
Copy mailed to:
Jorge Gandia Ortega
Reg. No. 44943-054
FCI Schuylkill
Federal Correctional Institution
P.O. Box 759
Minersville, PA 17954




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